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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                     THIRD DIVISION


UNITED STATES OF AMERICA,                                                Criminal No. 06-92 DWF/AJB

                                Plaintiff,

v.                                                         REPORT AND RECOMMENDATION

(1)     HAN CAVAN, and
(2)     KOK LUANGRATH,

                                Defendants.


        W. Anders Folk, Esq., Assistant United States Attorney, for the plaintiff, United States of
        America;

        Kenneth Bottema, Esq., for defendant Han Cavan; and

        Julius A. Nolen, Esq., for defendant Kok Luangrath.


                This action came on for hearing before the Court, Magistrate Judge Arthur J. Boylan,

on April 21, 2006, at the U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN 55415.

Testimony was presented and exhibits were received in regard to defendants’ joint Motion to Suppress

Evidence [Docket No. 21] and the magistrate judge hereby submits the matter to the District Court on

report and recommendation.

                Based upon the file and documents contained therein, along with testimony and exhibits

received at hearing, and the memorandum arguments of counsel, the Magistrate Judge makes the

following:

Findings
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                 Minnesota State Patrol Trooper David Kalinoff was on patrol during nighttime hours on

February 28, 2006, on westbound Interstate 94, near the I-694/I-494 interchange, when he observed

a Dodge Durango SUV that appeared to be following too closely behind a semi tractor trailer in the

center lane. The truck moved into the right lane while the Durango stayed in the center lane and

proceeded at a rate of 70 miles per hour, in excess of the posted 65 mile per hour, until catching up to

another SUV and following that vehicle at a distance of one-to-two car lengths. Trooper Kalinoff

determined the Durango’s speed using both radar and speedometer pacing, and the officer further

concluded that the vehicle’s following distance was not reasonable and prudent under the circumstances

such that traffic was generally light and open lanes were available to permit much safer distancing

between vehicles. The trooper turned on his lights to initiate a stop, but after proceeding a short

distance, and receiving no response from the Durango, the officer activated his siren. At that time the

Durango started to move towards the shoulder, but then stopped moving to the shoulder until the officer

hit his siren again, at which time the vehicle did pull over and stop on the right shoulder. The stop time

was atypically long in light of the usual visibility of patrol car stop lights during nighttime. In addition, the

officer observed that the right turn signal of the Durango had not been turned off, and he interpreted that

as a possible “indicator” of possible criminal activity.

                 The stop occurred near the distribution ramp from the I-694 interchange and Trooper

Kalinoff was particularly concerned about safety because vehicles were proceeding at freeway speeds

to both his left and right. The trooper approached the vehicle on the passenger side in which defendant

Cavan was seated. Defendant Luangrath was driving the Durango. The trooper requested and

obtained Luangrath’s driver’s license and also obtained vehicle rental documents (Hearing Exh. No. 5)

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upon determining that the SUV was rented. Trooper Kalinoff observed that the driver’s hands were

shaking and he considered that to be somewhat unusual for a traffic stop. Mr. Luangrath was asked to

exit the vehicle and when he did not immediately respond the trooper asked the passenger, Mr. Cavan,

if his friend spoke English. Cavan said yes and when asked a second time, Luangrath got out of the

car. The trooper asked the driver to step out of the vehicle and go back to the squad car so that any

information obtained from him could be independently verified by the passenger and because he felt that

the squad car was a safer place to talk.

                Mr. Luangrath was asked to sit in the back seat. The door was closed somewhat to

keep out the noise and cold, but the door was not latched shut. Mr. Luangrath was not placed under

arrest. As the trooper examined the vehicle rental agreement, and began to make some computer

checks, he engaged in conversation with the defendant. Mr. Luangrath indicated that he did not know

exactly where they were going; he did not know his passenger’s last name; and he was unclear about

the nature of his relationship with his traveling companion. The trooper also learned that Mr. Luangrath

was a resident of Ontario, Canada; he was approximately 50 years of age; and the vehicle was rented

in Milwaukee, Wisconsin, under his name. Trooper Kalinoff returned to the Durango to check the VIN

number and speak with Mr. Cavan who confirmed that Mr. Luangrath was fluent in English. When he

went back to his squad car the trooper noticed Cavan digging and reaching back into the back seat

area of the SUV. The trooper then got Mr. Luangrath out of the squad car, returned his drivers license

and rental agreement to him, and advised him that he was free to leave. The trooper did not write a

ticket, but gave the driver a warning for driving too closely. As Luangrath began to exit the squad car

the trooper asked if defendant would answer some more questions and he agreed. In their

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conversation Mr. Luangrath stated that the defendants had stayed at the Holiday Inn in Milwaukee.

The trooper subsequently spoke with Mr. Cavan again and was told that they had stayed at a Days Inn.

Shortly thereafter the officer asked Mr. Luangrath whether he had anything illegal, specifically

mentioning some common controlled substances, and he also asked if would mind having the vehicle

searched. Luangrath appeared to understand the request to search, but would not maintain eye contact

when asked about controlled substances. The officer did not draw his sidearm and did not physically

threaten the defendant or make promises in regard to being allowed to search. Defendant Luangrath

agreed to permit a search and Trooper Kalinoff reasonably believed that consent had been given. The

trooper then went to defendant Cavan and asked him to exit the vehicle. When Cavan was asked

questions about controlled substances, his reaction was similar to Luangrath’s. The trooper did not ask

Mr. Cavan for permission to search, and Cavan did not state an objection to the search.

                As both defendants stood outside near the squad car, Trooper Kalinoff looked under

the right front passenger, concerned that Mr. Cavan might have been hiding a weapon based upon his

earlier observation. He immediately noticed a bag of pills which he believed to be Ecstacy. The

trooper went back to his squad car, drew his weapon, and ordered the defendants to put their hands on

the car. Both defendants were handcuffed and placed in the back of the squad car. The trooper

returned to his driver’s seat and while he was completing some paperwork Mr. Cavan asked if he

could get them a lawyer. The trooper responded that he was not going to question them and he

therefore would not be getting them an attorney.

                The Durango was transported to the Department of Transportation garage for further

search in a safer location. At that site the trooper read the Miranda warning to Mr. Luangrath and they

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briefly spoke. The trooper did not speak with Mr. Cavan except perhaps to obtain an address and

booking information. The traffic stop and subsequent events at the stop scene were video and audio

recorded (Hearing Exh. No. 3) on a windshield mounted video camera with microphones mounted on

the trooper’s uniform and in the back seat of the squad car. Also, officers obtained a video/audio tape

recording (Hearing Exh. No. 4)1 of a non-English conversation (Hearing Exh. No. 2)2 between the

defendants while they were seated in Trooper Mihelick’s squad car following their arrests. At the

Department of Transportation building in Oakdale numerous photographs were taken of the

defendants, the interior and exterior of their vehicle, and seized drugs (Hearing Exh. No. 1). Neither

defendant was impaired by drugs or alcohol when they were stopped, and they both understood

questions that were asked by Trooper Kalinoff. Defendant Luangrath is a native of Laos who has lived

in Canada since 1979. His native language is Lao though he has learned some English from work and

television. He also has some hearing loss. Nonetheless, defendant fully understood that he was free to

leave when the trooper let him out of the squad car, and he understood that the officer was not making

threats or promises to induce cooperation or consent to search.

                 Based upon the foregoing Findings, the Magistrate Judge makes the following:

Conclusions

                 Vehicle Stop and Detention. The stop of the Dodge Durango SUV driven by

defendant Kok Luangrath on February 28, 2006, with defendant Han Cavan as a passenger, was not

unlawful. The vehicle stop by Trooper Kalinoff was based upon reasonable suspicion of traffic

        1
            VHS tape.
        2
            English translation transcript of VHS taped conversation.

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violations, i.e. speeding and following too closely, and was not conducted in violation of the Fourth

Amendment. United States v. Cummins, 920 F.2d 498, 500-01 (8th Cir. 1990). The officer had

sufficient legal basis for the stop, regardless of any other motive he may have entertained. United States

v. Mallari, 334 F.3d 765, 766 (8th Cir. 2003)(citing United States v. Thomas, 93 F.3d 479, 485 (8th

Cir. 1996) and Whren v. United States, 116 S.Ct. 1769, 1774 (1996)). Upon being stopped pursuant

to valid traffic stop the defendants were not unlawfully or unnecessarily detained while the trooper

conducted routine license and criminal history checks on the driver. United States v. $404,905.00 in

U.S. Currency, 182 F.3d 643, 647 (8th Cir. 1999). Furthermore, the trooper’s routine questions

regarding defendants’ travel plans and his efforts to engage either of them in conversation about matters

such as the purpose of the trip, the destination, where they had stayed, and whether he could search the

vehicle, was not unlawful, though defendants were not legally compelled to answer. Id., n.2. Finally,

the court concludes that the detention was not unreasonably extended where circumstances and the

responses of the defendants gave rise to suspicions of unlawful activity other than the traffic stop itself.

United States v. Barragan, 379 F.3d 524, 529 (8th Cir. 1993). In this instance the trooper’s suspicion

of non-traffic criminal activity was reasonably based upon the conflicting answers of the driver and

passenger, along with other factors including the unusual length of time it took for the vehicle to stop,

leaving the turn signal blinking, and defendant Luangrath’s shaking hands and his uncertain responses to

questions. Id. Suppression of evidence obtained as the result of the vehicle stop, including evidence

observed or obtained as a fruit of the vehicle stop and defendants’ detention, is not required.

                 Consent Search. The warrantless search of the Dodge Durango SUV was lawfully

conducted pursuant to voluntary verbal consent by defendant Kok Luangrath, the renter and driver of

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the vehicle. Considering the totality of the circumstances, Mr. Luangrath’s consent was voluntary and

was not a product of duress or coercion, express or implied. U.S. v. Hathcock, 103 F.3d 715, 719

(8th Cir 1997)(citing Schneckloth v. Bustamonte, 412 U.S. 218, 227, 93 S.Ct. 2041, 2048 (1973)).

Defendants argue that the trooper could not have reasonably believed that Mr. Luangrath had given

consent to search under circumstances whereby the defendant was not told that he could withhold

consent, he was not advised of his Miranda rights, his difficulty speaking English was apparent, and he

had hearing difficulties.

                 Consent to search is voluntary if it results from “an essentially free and unconstrained

choice” rather than “duress and coercion.” United States v. Sanchez, 156 F.3d 875, 878 (8th Cir.

1998)(quoting United States v. Galvan-Muro, 141 F.3d 904, 907 (8th Cir. 1998)). Voluntariness of

consent depends upon the totality of the circumstances, with particular attention to the characteristics of

the person giving consent and to the encounter from which the consent arose. Sanchez at 878.

Relevant circumstances include the age, intelligence and education of the consenting person; indications

of intoxication; whether the person was informed of the right to withhold consent; whether the person

understood the various rights of a person involved in a criminal investigation; the length of any detention

and questioning; police use of intimidation; reliance upon promises or misrepresentations; whether the

person was in custody; whether the encounter was in a public or private place; and whether there was

any objection to a search. Id. Defendant Luangrath is an adult and there is no evidence that he suffers

from any vulnerabilities arising out of a physical or psychological condition; there is no evidence that

Luangrath was under the influence of drugs or alcohol; the events took place on a public highway; there

is no evidence of police intimidation, threats, or promises; and there was no expressed objection to a

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search. In addition, defendant Luangrath was able to converse with Trooper Kalinoff in English and

was not significantly impaired by hearing loss. See United States v. Carrate, 122 F.3d. 666, 670 (8th

Cir. 1997). The totality of circumstances support the conclusion that the defendant Luangrath gave

voluntary and uncoerced consent to a search of the Dodge Durango. With respect to any objections to

the vehicle search by defendant Cavan, the passenger simply has no legitimate expectation of privacy

and has no standing to object to the search. United States v. Barragan, 379 F.3d 524, 529.

Suppression of physical evidence obtained as a consequence of the consent search is not warranted.

                Statements. Audio/video recordings of conversations between defendants Cavan and

Luangrath while seated in a squad car on February 28, 2006 (Hearing Exh. Nos. 2 and 4), were not

unlawfully obtained in violation of defendants’ constitutional rights, and suppression of any statements is

not required. The conversation statements were voluntary; they were not a result of police

interrogation; and they were not product of an unlawful vehicle stop or search.

                Based upon the foregoing Findings and Conclusions, the Magistrate Judge makes the

following:

                                        RECOMMENDATION

                The Court hereby recommends that defendant Han Cavan’s and defendant Kok

Luangrath’s joint Motion to Suppress Evidence be denied [Docket No. 21]. Defendants’ joint motion

to suppress search and seizure evidence should be denied and defendants’ joint motion to suppress

statements should be denied.


Dated:       May 10, 2006



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                                                          s/ Arthur J. Boylan
                                                         Arthur J. Boylan
                                                         United States Magistrate Judge




                Pursuant to Local Rule 72.1(c)(2), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written objections
which specifically identify the portions of the Report to which objections are made and the bases for
each objection. This Report and Recommendation does not constitute an order or judgment from the
District Court and it is therefore not directly appealable to the Circuit Court of Appeals. Written
objections must be filed with the Court before May 25, 2006.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. § 636 to
review a transcript of the hearing in order to resolve all objections made to this Report and
Recommendation, the party making the objections shall timely order and file a complete transcript of
the hearing within ten days of receipt of the Report.




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